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                                  UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION



      JOHN DOE
                                                                 Civil Action No.: 4:22-cv-00297
               Plaintiff,

               vs.

      TEXAS CHRISTIAN UNIVERSITY,

      VICTOR J. BOSCHINI, JR,
      in his official capacity.

               Defendants.


             REPLY TO DEFENDANTS’ RESPONSE AND BRIEF IN OPPOSITION TO
                          PLAINTIFF’S EMERGENCY MOTION


             Plaintiff John Doe (“Doe”) files this Reply to Defendants Texas Christian University’s

  (“TCU”) and Victor J. Boschini, Jr.’s Response and Brief in Opposition to Plaintiff’s Emergency

  Motion.

I.       TCU’s Violation of the Title IX Regulations Constitute Procedural Irregularities that
         Cast Articulable Doubt as to the Accuracy of the Proceeding and Evidence Gender Bias.

             TCU’s procedural irregularities in violating the Title IX Regulations 1 by (A) excluding

  exculpatory evidence and (B) consolidating the Allegations 2 into one hearing create articulable

 doubt as to the accuracy of the proceeding and evidence gender bias in satisfaction of the erroneous

 outcome test. See Pacheco v. St. Mary’s Univ., 2017 WL 2670758, at *15 (W.D. Tex. 2017); Doe



  1
      34 C.F.R § 106.45.
  2
      All undefined capitalized terms as used herein shall have the same meaning given to such terms in Doe’s Emergency
     Motion and Brief in Support thereof.

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v. Marymount Univ., 297 F. Supp. 3d 573, 584-85 (E.D. Va. 2018) (“The procedural deficiencies

alleged by Doe are sufficient, standing alone, to cast doubt on the accuracy of the outcome of Doe's

Title IX hearing.”); Norris v. Univ. of Colorado, Boulder, 362 F. Supp. 3d 1001, 1012 (D. Colo.

2019) (articulable doubt cast by procedural irregularities); Doe v. Baum, 903 F.3d 575, 585–86

(6th Cir. 2018) (“because Doe alleged that the university did not provide an opportunity for cross-

examination even though credibility was at stake in his case, he has pled facts sufficient to cast

some articulable doubt….”); Doe v. Oberlin Coll., 963 F.3d 580, 587 (6th Cir. 2020) (“Procedural

irregularities provide strong support for Doe's claim of bias here.”)

         A. Exclusion of Exculpatory Evidence in Violation of Title IX Regulations

         “Without my consent, and despite my verbal objections over and over again, he raped me

on my campus”—that was Roe’s statement in her response to the final investigative report she

submitted on January 24, 2022, and which she reasserted at the panel hearing four days later.

Appx. 183, ECF No. 15. As rebuttal, Doe attempted to introduce the “I don’t think its rape [Doe]”

text (the Exculpatory Text) Roe sent Doe on the very same date of the Colby Hall incident

(Allegation 1). 3 Despite the Exculpatory Text’s relevancy and direct contradiction of Roe’s

Allegation 1, Judge Ruvolo (a retired California state court judge appointed by TCU to conduct

the hearing) improperly excluded the Exculpatory Text along with other evidence, which the panel,

if they had such evidence before them, should have found Doe innocent.

         Doe was prohibited from introducing exculpatory rebuttal evidence to counter Roe’s

testimony, all of which Doe submitted prior to the hearing. TCU’s interpretation of its own rules




3
  Despite TCU’s assertion that Roe’s statement was merely her “thought” (initially) that Doe inserting his fingers into
her vagina without her consent would not be considered rape, the quote that “he raped me on my campus” certainly
clears up any misconception about what she considered to be rape. Defs’ Resp. 11, ECF N. No. 26. If there was
confusion before, this late breaking statement on Roe’s part makes her prior contemporaneous admission that Doe had
not raped her, even more relevant.

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violates the Title IX Regulations, which expressly prohibit evidentiary rules that limit evidence

gathered or presented prior to the hearing as explained further below. TCU’s evidentiary rules

provide that “[a]ny evidentiary responses made to the Office of Institutional Equity during the

investigation, as provided in Policy 1.009, or to the Dean of Students when reviewing the final

Investigative Report and the other party’s responses to the investigative materials and the

preliminary Investigative Report, will be considered by the panel chair at the beginning of the Title

IX Conduct Panel hearing. The admissibility of this disputed evidence will be resolved just as

relevancy determinations are made…. The panel chair shall instruct the panelists to disregard any

information that is deemed inadmissible.” Appx. 49, ECF No. 15 (emphasis added). On its face,

the foregoing rule appears to allow for the admission of evidence provided in response to the final

investigative report. Judge Ruvolo’s exclusion of evidence therefore contradicted TCU’s own rules

regarding the admission of relevant evidence and worked to prejudice Doe’s defense. Judge

Ruvolo ruled that the exclusion of the “[a]dditional texts and digital photos offered by Respondent

which allegedly were exchanged with Complainant throughout their relationship and including a

period of time after the alleged incidents were excluded … because any relevance of the proffered

evidence was more prejudicial than probative of a material fact (Dean of Students 5.7, Title IX

Conduct Process, 5.7.10.).” Appx. 253, ECF No. 15. That evidentiary ruling violated the Title IX

Regulations in light of the commentary to those regulations. 4 The only thing that Doe’s proffered

evidence could have been prejudicial to was Roe’s allegation that Doe had raped her.




4
  Relevance is the standard that these final regulations require, and any evidentiary rules that a recipient
chooses must respect this standard of relevance. For example, a recipient may not adopt a rule excluding
relevant evidence because such relevant evidence may be unduly prejudicial, concern prior bad acts, or
constitute character evidence. Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving
Federal Financial Assistance, 85 Fed. Reg. 30026-01, at 30248 (emphasis added).


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           Judge Ruvolo’s ruling to exclude Doe’s evidence because it was unavailable at the time of

the investigation further contradicts Title IX Regulations and constitutes a procedural irregularity

evidencing gender bias. Title IX’s preamble directly addresses the issue of whether recipient

schools may limit the hearing evidence to consideration only of evidence previously included in

the investigation report and answered that they could not. 5 Schools can only place limits on

evidence introduced at the hearing that was not gathered and presented prior to the hearing.

           B. Consolidation of the Allegations in Violation of the Title IX Regulations

           TCU consolidated the Allegations in violation of the Title IX Regulations 6 and to Doe’s

detriment, which resulted in another procedural irregularity evidencing gender bias. TCU argues

that argument has “incomprehensible” because TCU found in favor of Doe with respect to

Allegation 2. Defs’ Resp. 10, ECF No. 26. However, the Court in Doe v. Regents of Univ. of

California, 23 F.4th 930, 941 (9th Cir. 2022) rejected that same concept, stating “the fact that the

Regents ultimately found Doe not responsible for twelve of the thirteen allegations made against

him does not make the allegations of irregularities in the proceedings any less relevant to our

inquiry.”



5
    The 2020 Title IX Rule’s preamble states in pertinent part:

… the Department disagrees that properly conducted hearings will become a springboard to introduce new evidence,
derail hearings by embarrassing the parties, or require hearing panels to seek out extensive legal advice…. Thus,
recipients may decide whether or how to place limits on evidence introduced at a hearing that was not gathered
and presented prior to the hearing, and rules controlling the conduct of participants to ensure that questioning is
done in a respectful manner. Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving
Federal Financial Assistance, 85 Fed. Reg. 30026-01, at 30357 & 30358
…
Similarly, recipients may adopt evidentiary rules (that also must apply equally to both parties), but any such rules must
comport with all provisions in § 106.45, such as the obligation to summarize all relevant evidence in an investigative
report, the obligation to evaluate all relevant evidence both inculpatory and exculpatory, the right of parties to gather
and present evidence including fact and expert witnesses, the right to pose relevant cross-examination questions, and
the rape shield provisions that deem sexual behavior evidence irrelevant subject to two exceptions. Thus, a recipient's
additional evidentiary rules may not, for example, exclude relevant cross-examination questions even if the recipient
believes the questions assume facts not in evidence or are misleading. Id. at 30361 (emphasis added).
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    34 C.F.R § 106.45(b)(4).

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II.       TCU’s Response Fails to Refute Doe’s Evidence of (A) Articulable Doubt on the Accuracy
          of the Outcome of the Proceeding and (B) Gender Bias.

              TCU abruptly states—without support or merit—that Doe’s “lawsuit is perhaps the

   weakest” in the “line of cases” filed across the country involving students disciplined for violating

   institutional sexual misconduct policies. Defs’ Resp. 1, ECF No. 26. TCU acknowledges that

      factors considered under the erroneous outcome test include evidence of “‘particular evidentiary

      weaknesses behind the finding such as motive to lie on the part of complainant or witnesses,

      particularized strengths of the defense,’ ‘procedural flaws,’ or ‘statements by members of the

      disciplinary tribunal, statements by pertinent university officials, or patterns of decision-making

      that also tend to show the influence of gender,” yet it fails to either address or refute Doe’s evidence

      of those factors. Id. at 9 (quoting Pacheco v. St. Mary’s Univ., 2017 WL 2670758, at *15 (W.D.

      Tex. 2017)). Consequently, TCU’s “weakest case ever” allegation quickly falls apart.

              A. Articulable Doubt

              The case law supports that Doe’s evidence creates articulable doubt. For example, TCU

      ignores Doe’s evidence of Roe’s jealousy and motive to lie, but Klocke v. Univ. of Tex. at

      Arlington, 938 F.3d 204, 210 (5th Cir. 2019), Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir.

      1994); Oliver v. Univ. of Tex. Sw. Med. Sch., No. 3:18-CV-1549-B, 2019 WL 536376, at *17-18

      (N.D. Tex. Feb. 11, 2019) and Pacheco, 2017 WL 2670758, at *15 all state that a complainant’s

      motive to lie can create articulable doubt. TCU likewise ignores the strengths of Doe’s case—such

      as the inconsistencies in Roe’s statements, exculpatory texts, Roe’s confusion of dates, her

      inability to recall facts, and her continued engagement in and desire to have sex with Doe after the

  Colby Hall incident—yet those same foregoing cases hold that the strengths of a disciplined

  student’s defense can create articulable doubt. See also Doe v. Marymount Univ., 297 F. Supp. 3d

  573, 584-85 (E.D. Va. 2018) (articulable doubt cast by the omission of exculpatory evidence,


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statements by Roe that were “dishonest, inconsistent and factually improbable” and Roe’s behavior

immediately following the incident that was inconsistent with her allegation that she had just been

brutally sexually assaulted).

       TCU further ignores the unexplained discrepancies in the Deliberative Report in finding

Doe responsible for the Colby Hall incident, but not the Austin incident. The case law shows that

such flaws can create articulable doubt. For example, in Doe v. Miami Univ., 882 F.3d 579, 592–

93 (6th Cir. 2018) the Court found articulable doubt cast by the fact that (1) the hearing panel

failed to explain how it resolved inconsistencies in the complainant’s testimony; and (2) “the

panel's terse statement does not elucidate why it found the oral sex to be non-consensual when it

appears to have found that the digital penetration was consensual.”

       B. Gender Bias

       TCU disregards Doe’s evidence of gender bias. For example, case law is clear that

statements by members of the disciplinary tribunal and statements by pertinent university officials

can show evidence of gender bias. See Pacheco v. St. Mary’s Univ., 2017 WL 2670758, at *15

(W.D. Tex. 2017). TCU, however, conclusively states that with regard to Doe’s evidence of

Jeremy Steidl’s and Jessica Ledbetter’s (Co-Panel Chairs at Doe’s panel hearing) gender biased

statements to Doe, “Obviously fatal to Plaintiff’s arguments is the fact that neither Steidl nor

Ledbetter were part of the Hearing Panel and neither participated in the decision-making.” In fact,

the Second Circuit expressly rejected that same argument in Doe v. Columbia Univ., 831 F.3d 46,

58 (2d Cir. 2016) as follows:

       The argument is not persuasive. Although Sessions-Stackhouse was not the
       decision-maker, she allegedly had significant influence, perhaps even
       determinative influence, over the University’s decision. According to Plaintiff’s
       allegations, Sessions-Stackhouse was appointed by Columbia to the role of Title IX
       investigator with the expectation that her investigations and reports would inform
       the University’s decisions. The Complaint plausibly alleges that her report
       advocating discipline influenced the University’s decision to sanction John Doe.
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       The fact that Sessions-Stackhouse was not the decision-maker does not render
       sex bias in her performance of her duties irrelevant to liability of the
       University.

(Emphasis added); see also Doe v. Regents of Univ. of California, 23 F.4th 930, 940 (9th Cir.

2022) (“The FAC enumerates several other allegations of irregular proceedings during the appeal

hearing itself, including that “Associate Dean Rush evidenced gender bias when she falsely

stated that the two-year suspension was required by SVSH Policy for any type of dating

violence”) (emphasis added). That false statement of policy is akin to Steidl’s false statement to

Doe that he was ineligible for enrollment in the Spring semester because of the pending Title IX

complaint.

       Further, the case law supports that Doe’s evidence of TCU’s “Believe Survivors” mentality

and the equating of complainants to survivors as reflected on the TCU website, its CARE Facebook

page, panelist Reece Harty’s tweets, TCU 360 articles establishes gender bias. For example, in

Doe v. Purdue Univ., 928 F.3d 652, 656 (7th Cir. 2019), the Court found that the inference of

gender bias was “strengthened by a post that CARE put up on its Facebook page during the same

month that John was disciplined: an article from The Washington Post titled ‘Alcohol isn't the

cause of campus sexual assault. Men are,’” which CARE advertised to the community. TCU,

however, misleadingly infers that “courts have routinely rejected this exact theory [institutional

bias in favor of all complainants] in erroneous-outcome cases….” Defs’ Resp. 14, ECF No. 26.

For example, the court in Austin v. Univ. of Oregon, 205 F. Supp. 3d 1214, 1225 (D. Or. 2016),

aff'd, 925 F.3d 1133 (9th Cir. 2019) (which TCU relies on for support) did not hold that “merely

alleging that the University is biased against ‘alleged perpetrators’ ‘does not implicate gender

discrimination simply because those alleged perpetrators are typically male’ because ‘survivors

and perpetrators alike may be male or female.’” Defs’ Resp. 14, ECF No. 26. Rather, those quotes



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       are simply a restatement of the Defendants’ argument! Austin, 205 F. Supp. 3d at 1225.

   Collectively, the evidence of the procedural irregularities and that TCU promotes “Believe

   Survivors,” TCU equates complainants with “survivors” and those involved in the panel hearing

    showed bias in favor of Roe, a woman, indicates that gender bias played a role in the outcome of

    the proceeding.

III.       Doe Will Be Irreparably Harmed Absent a TRO

               A. Status Quo

               TCU claims Doe “does not seek to preserve the status quo via TRO” and that Doe seeks to

       “upset the status quo.” Defs’ Resp. 6-7, ECF No. 26. According to the Fifth Circuit in the oft cited

       case of Canal Authority of State of Florida v. Calloway, 489 F.2d 567 (5th Cir. 1974):

               It is often loosely stated that the purpose of a preliminary injunction is to preserve
               the status quo. See, e.g., Exhibitors Poster Exchange, Inc. v. National Screen
               Service Corp., 5 Cir. 1971, 441 F.2d 410. Indeed, some such notion may have
               influenced the district judge in this case, since he wrote of a ‘status quo that would
               normally be entitled to temporary protection.’ It must not be thought, however, that
               there is any particular magic in the phrase ‘status quo.’ The purpose of a preliminary
               injunction is always to prevent irreparable injury so as to preserve the court’s ability
               to render a meaningful decision on the merits.

       Id. at 576.

               In the Fifth Circuit, “status quo” refers to the “last uncontested status of parties.” Yeargin

   Const. Co. v. Parsons & Whittemore Ala. Mach. & Servs. Corp., 609 F.2d 829, 931 (5th Cir. 1980)

   (citing Wash. Capitols Basketball Club, Inc., 419 F.2d 472, 476 (9th Cir. 1969); Domain

       Protection, LLC v. Sea Wasp, LLC, 2019 WC 3219939 (E.D. Tex. 2019). Here, Doe is not seeking

       to alter the status quo, rather he seeks to preserve the last uncontested status of the parties by

       restraining TCU from enforcing his suspension.




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           B. Irreparable Harm

           TCU argues that Doe should not be granted a TRO because “the Fifth Circuit has never

recognized irreparable harm under such circumstances,” but neither has the Fifth Circuit precluded

the remedy under Doe’s circumstances. Defs’ Resp. 17, ECF No. 26. The Federal District Court

in King v. DePauw University, 2014 WL 4197507 (S.D. Ind. 2014) 7 explained why a college

student in Doe’s position will suffer irreparable harm:

           The Court also finds that King has demonstrated that he will suffer irreparable harm
           if an injunction is not entered. If King is not permitted to complete this upcoming
           semester at DePauw—even if, as DePauw asserts, he could choose to attend another
           university and ultimately graduate on time—he will forever have either a gap or a
           senior-year transfer on his record. The Court finds it inevitable that he would be
           asked to explain either situation by future employers or graduate school admissions
           committees, which would require him to reveal that he was found guilty of sexual
           misconduct by DePauw. Successfully seeing this lawsuit to its conclusion could not
           erase the gap or the transfer ; the question will still be raised, and any explanation
           is unlikely to fully erase the stigma associated with such a finding. Money damages
           would not provide an adequate remedy at that point; DePauw’s disciplinary
           finding—even if determined to have been arbitrary or made in bad faith—would
           continue to affect him in a very concrete way, likely for years to come.

Id. at *13. See also Doe v. Rector & Visitors, 2019 U.S. Dist. LEXIS 108990 at *18 (finding

irreparable harm because the penalty could negatively impact educational and employment

opportunities”); Doe v. Univ. of Mich., 325 F. Supp. 3d 821, 826 (E.E. Mich. 2018) (granting

preliminary injunction where sexual assault allegations may impugn a student’s reputation and

integrity); Ritter v. Oklahoma, No. 5:16-cv-00438, 2016 U.S. Dist. LEXIS 60193, at *8 (W.D. Okla.

May 6, 2016) (irreparable harm found because the “loss of educational and career opportunities

[plaintiff] will encounter if not reinstated and allowed to graduate is not readily compensable in

money damages”); See Doe v. Baum, No. 16-13174, 2019 U.S. Dist. LEXIS 169625, at *41 (E.D.




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    This case was cited by TCU in the Response, albeit for a different proposition.

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Mich. Sep. 30, 2019) (“risk to the plaintiff’s reputation due to prospective disclosure of the

wrongfully imposed disciplinary sanctions readily suggests a prospect of irreparable harm”).

Dated: April 19, 2022

                                     Respectfully Submitted,

/s/ Brian Roark                 /s/ Bryan D. Bruner               /s/ H. Dustin Fillmore, III
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served on the following counsel
of record via the Court’s CM/ECF electronic filing system in accordance with the Federal Rules
of Civil Procedure on April 19, 2022.

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